        Case 1:18-cr-00156-SPW Document 33 Filed 01/17/19 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


UNITED STATES OF AMERICA,                        CR 18-156-BLG-SPW
                                                 CR 18-157-BLG-SPW
                    Plaintiff,

vs.                                               ORDER VACATING
                                                  DETENTION HEARING
ANGELA MAXINE KILLEN,

                    Defendant.



      Defendant has filed Motion to Vacate Detention Hearing in each of these

matters. (Docs. 31, 19.) Good cause appearing, IT IS HEREBY ORDERED that

the Detention Hearing currently set for January 24, 2019, at 2:30 p.m. is vacated.

      DATED this 17th day of January, 2019.

                                       _______________________________
                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge
